Case 2:23-cv-00334-JRG Document 1-4 Filed 07/14/23 Page 1 of 28 PageID #: 74




              Exhibit D
Case 2:23-cv-00334-JRG Document 1-4 Filed 07/14/23 Page 2 of 28 PageID #: 75




       Supercapacitors

          Product Guide

                    Dec 2022
                           Version: 6.5




                        © 2022 CAP-XX (Australia) Pty Ltd; v6.5
     Case 2:23-cv-00334-JRG Document 1-4 Filed 07/14/23 Page 3 of 28 PageID #: 76



                                                                                              Contents
                                                                                     & Revision History

Contents

1.    Key Features of CAP-XX Supercapacitors ........................................................................... 3
2.    Typical Applications ............................................................................................................. 3
3.    Product Range ..................................................................................................................... 3
4.    G Series Product Specifications........................................................................................... 4
5.    H Series Product Specifications ........................................................................................... 5
6.    Storage & Operation Metrics ................................................................................................ 6
7.    Energy & Power Density ...................................................................................................... 7
8.    Product Names .................................................................................................................... 7
9.    Product Markings ................................................................................................................. 8
      “S” & “W” Dual Cells (Note: previous C & ESR specification shown on picture) ...................................... 8
      “S” & “W” Single Cells (Note: previous C & ESR specification shown on picture) ................................... 8
      “A” Dual Cells (Note: previous C & ESR specification shown on picture) ................................................ 8
      “A” Single Cells (Note: previous C & ESR specification shown on picture) ............................................. 8
10. Batch Codes ........................................................................................................................ 9
      “S”, “W” & “A” series devices ................................................................................................................... 9
11. Transportation & Storage ..................................................................................................... 9
      IATA Dangerous Goods Regulations ....................................................................................................... 9
      Storage Conditions .................................................................................................................................. 9
12. Packaging & Package Quantities ....................................................................................... 10
      Packaging for Shipment ......................................................................................................................... 10
      Packing Tray for “S” series devices ....................................................................................................... 10
      Packing Tray for “W” series devices ...................................................................................................... 11
      Packing Tray for “A” series devices ....................................................................................................... 11
13. Cautions Before Use .......................................................................................................... 12
14. Soldering & Assembly ........................................................................................................ 12
      Placement .............................................................................................................................................. 12
      Soldering ................................................................................................................................................ 12
      Washing ................................................................................................................................................. 13
      Drying..................................................................................................................................................... 13
      Conformal Coatings & Potting ................................................................................................................ 13
15. Safety ................................................................................................................................ 14
      Failure modes ........................................................................................................................................ 14
      Resistance to Shock .............................................................................................................................. 14
      Resistance to Vibration .......................................................................................................................... 14
      Drop-Test ............................................................................................................................................... 14
      Exposure to an Open Flame .................................................................................................................. 15
      Exposure to Heat ................................................................................................................................... 15
      Pressure................................................................................................................................................. 15
      Puncture................................................................................................................................................. 15
16. Dimensional Stability & Low Pressure Environments ......................................................... 16
17. Response to Over-Temperature Events ............................................................................. 16
18. Certifications & Compliances ............................................................................................. 16
      ISO 9001-2008 ....................................................................................................................................... 16
      Underwriter’s Laboratory (UL 810A) ...................................................................................................... 16
      RoHS ..................................................................................................................................................... 16
      REACH .................................................................................................................................................. 17
      Rare Earth Metals & Conflict Metals ...................................................................................................... 17
      Halogens ................................................................................................................................................ 17
19. Notes & Disclaimers .......................................................................................................... 17

                                                         © 2022 CAP-XX (Australia) Pty Ltd; v6.5
   Case 2:23-cv-00334-JRG Document 1-4 Filed 07/14/23 Page 4 of 28 PageID #: 77



                                                                                              Contents
                                                                                     & Revision History
20. Product Drawings: Mechanical & Electrical ........................................................................ 18
       “S” Package Dual Cell Devices .......................................................................................................... 18
       “W” Package Dual Cell Devices ......................................................................................................... 19
       “A” Package Dual Cell Devices .......................................................................................................... 20
       “Z” Package Dual Cell Devices ........................................................................................................... 21
       “S” Package Single Cell Supercapacitors ......................................................................................... 22
       “W” Package Single Cell Supercapacitors ........................................................................................ 23
       “A” Package Single Cell Supercapacitors ......................................................................................... 24
       “Z” Package Single Cell Supercapacitors ......................................................................................... 25
21. Contact Information ........................................................................................................... 26
       Principal Office ....................................................................................................................................... 26
       Sales & Product Enquiries ..................................................................................................................... 26
       Distributors ............................................................................................................................................. 26


Revision History
Release Release Date                                 Author
v1.0             February 18, 2013                   Peter Buckle

v1.1             April 3, 2013                       Peter Buckle

v2.0             July 1, 2014                        Peter Buckle

v2.1             July 14, 2015                       Bernd Failenschmid

v2.2             August 24, 2015                     Bernd Failenschmid

V3.0             October 12, 2015                    Pierre Mars

V4.0             June 22, 2016                       Pierre Mars

V5.0             February 15, 2017                   Song Lau

V6.0             January 29, 2018                    Song Lau

V6.1             July 24, 2018                       Pierre Mars

V6.2             Jan 31, 2019                        Pierre Mars

V6.3             April 17, 2020                      Julia Leem

V6.4             November 16, 2022                   Henry Huang

V6.5             December 13, 2022                   Henry Huang




                                                          © 2022 CAP-XX (Australia) Pty Ltd; v6.5
   Case 2:23-cv-00334-JRG Document 1-4 Filed 07/14/23 Page 5 of 28 PageID #: 78




                                                             Product Guide
1. Key Features of CAP-XX Supercapacitors
     ●    Ultra-thin prismatic cells and modules: Ideal for use in space-constrained devices
     ●    Exceptional power density (up to 128 kW/litre), with best-in-class ESR (from 15 mΩ)
     ●    High energy density (up to 1.9 Wh/litre), offering high Capacitance in small cells
     ●    True, continuous operating voltage of up to 2.75V/cell (H series; 2.9V peak)
     ●    High temperature rating (H series; 85°C maximum)
     ●    Excellent low temperature performance (G series; ~2x nominal ESR at -30°C)
     ●    Very low leakage current (<1 µA) and ultra-low minimum charge current (<20 µA)
     ●    Virtually unlimited charge-discharge cycle life
     ●    Excellent frequency response (CEFFECTIVE)
     ●    RoHS and REACH compliant, Lead-free, Halogen-free and Conflict metal-free
     ●    UL-810 and ISO 9001:2015 certified
2. Typical Applications
     ●  Peak power for pulsed loads
      ✓ Isolate the source from fluctuations in the load (input smoothing).
      ✓ Extend battery life and run-time, especially when “old or cold”.
      ✓ Enable the use of cheaper, smaller, lower power batteries.
     ● Ride-through power for mission-critical applications
      ✓ Isolate the load from fluctuations in the source (output smoothing).
      ✓ Remove the need for back-up batteries and impact-resistant connectors.
      ✓ Provide a low maintenance, uninterruptable on-board power supply.
     ● Energy storage for energy harvesters and quick charge power supplies
      ✓ Environmentally friendly, low maintenance alternative to rechargeable batteries.
      ✓ Efficient charging, with minimal losses, from variable / low power sources.
      ✓ Ultra-quick charging via cable, cradle or induction to maximize operating time.
3. Product Range
     Cells or Modules:
     Choose from:
     ● Single cells, for ultra-thin designs & primary batteries/harvesters; or
     ● Dual cell modules, for rechargeable batteries & USB power supplies.
     Series:
     G series devices operate at 2.5V/cell (2.75V peak) and have an operating
     temperature range of -40°C to +70°C.
     H series devices operate at 2.75V/cell (2.9V peak) and can tolerate excursions
     to +85°C.
     Packages:
     ● “S” = 39.0mm x 17.0mm
     ● “W” = 28.5mm x 17.0mm
     ● “A” = 20.0mm x 18.0mm




© 2022 CAP-XX (Australia) Pty Ltd; v6.5                                                    Page 3
   Case 2:23-cv-00334-JRG Document 1-4 Filed 07/14/23 Page 6 of 28 PageID #: 79




                                             Product Specifications
4. G Series Product Specifications
Dual cell modules (2 cells connected in series)
                                                        ESR2                                       Minimum
  Voltage &            Product         CAP2                         Body Size        Thickness4
                                                     (max = Nom                                     Order
 Temperature            Name1        (± 20%)3                         (mm)             (max)
                                                       +20%)3                                      Quantity
                       GZ215F             90 mF       110 mΩ        20.0 x 15.0        2.5 mm         TBA
                       GA209F         90 mF             95 mΩ                          2.1 mm         2,000
   5.0Vnominal                                                      20.0 x 18.0
    5.5Vpeak           GA230F         400 mF            75 mΩ                          3.5 mm         2,000
                       GW209F         160 mF            55 mΩ                          2.1 mm          300
                       GW201F         400 mF            55 mΩ       28.5 x 17.0        2.7 mm          300
-40°C to +70°C
                       GW203F         520 mF            40 mΩ                          3.4 mm         2,000
  Tmax = 70°C
                       GS203F         270 mF            35 mΩ                          2.1 mm         2,000
                       GS206F         680 mF            35 mΩ                          2.7 mm         2,000
                                                                    39.0 x 17.0
                       GS208F         900 mF            25 mΩ                          3.4 mm         2,000
                       GS230F         1200 mF           25 mΩ                          3.9 mm          200

Single cell devices
                                                        ESR2                                       Minimum
  Voltage &            Product         CAP2                         Body Size        Thickness4
                                                     (max = Nom                                     Order
 Temperature            Name1        (± 20%)3                         (mm)             (max)
                                                       +20%)3                                      Quantity
                       GZ115F         180 mF            55 mΩ       20.0 x 15.0         1.2mm          TBA
                       GA109F         170 mF            50 mΩ                           1.0 mm        3,000
                                                                    20.0 x 18.0
   2.5Vnominal         GA130F         800 mF            40 mΩ                           1.7mm         3,000
   2.75Vpeak
                       GW109F         320 mF            30 mΩ                           1.0 mm        3,000
                       GW101F          800mF            30 mΩ       28.5 x 17.0         1.3 mm        3,000
                       GW103F         1040 mF           20 mΩ                           1.7 mm        3,000
                       GS103F         540 mF            20 mΩ                           1.0 mm        3,000
-40°C to +70°C
  Tmax = 70°C          GS106F         1360mF            20 mΩ                           1.3 mm        3,000
                                                                    39.0 x 17.0
                       GS108F         1800mF            15 mΩ                           1.7 mm        3,000
                       GS130F         2400 mF           15 mΩ                           1.9 mm        3,000

Parameter                  Name             Condition           Minimum            Nominal        Maximum
Leakage Current    5
                               IL             23°C                                1μA/F (cell)    2μA/F (cell)
RMS Current                  IRMS             23°C                                                 4A – 8A
Pulse Current6               Ipeak                                                                   30A
ESR change with                            Min @ +70°C          75% of                             200% of
Temperature                                Max @ -40°C          nominal                            nominal

Notes
1. Select products are available ex-stock (Standard products). The remainder are available to order.
2. Capacitance will decline and ESR will rise over time, at a rate which depends on temperature and voltage.
   Continuous operation at high temperature & voltage is not recommended. See Section 6 for more
   information on ageing and endurance.
3. DC capacitance and ESR tolerance are measured at 23°C. Max ESR = Nominal ESR +20%.
4. Thickness is measured between two parallel plates with 140gm force applied.
5. Leakage current is measured after charging to nominal voltage for 120hrs at 23°C.
6. Single pulse, non-repetitive current (positive & negative terminal short-circuited).

© 2022 CAP-XX (Australia) Pty Ltd; v6.5                                                                  Page 4
   Case 2:23-cv-00334-JRG Document 1-4 Filed 07/14/23 Page 7 of 28 PageID #: 80




                                             Product Specifications
5. H Series Product Specifications
Dual cell modules (2 cells connected in series)
                                                         ESR2                                        Minimum
  Voltage &            Product          CAP2                         Body Size        Thickness4
                                                      (max =Nom                                       Order
 Temperature            Name1         (± 20%)3                         (mm)             (max)
                                                        +20%)3                                       Quantity
                       HA202F             120 mF        120 mΩ       20.0 x 18.0         2.5 mm        2,000
   5.5Vnominal         HA230F             400 mF        130 mΩ                           3.5 mm         500
    5.8Vpeak           HW209F             150 mF        100 mΩ                           2.1 mm        2,000
                       HW201F             380 mF        100 mΩ       28.5 x 17.0         2.7 mm        2,000
                       HW203F             500 mF         75 mΩ                           3.4 mm        2,000
-40°C to +70°C         HS203F         250 mF             55 mΩ                           2.1 mm        2,000
  Tmax = 85°C5         HS206F         650 mF             55 mΩ                           2.7 mm         200
                                                                     39.0 x 17.0
                       HS208F         900 mF             45 mΩ                           3.4 mm        2,000
                       HS230F         1200 mF            45 mΩ                           3.9 mm         200

Single cell devices
                                                        ESR2                                         Minimum
  Voltage & Product                     CAP2                         Body Size         Thickness4
                                                      (max Nom                                        Order
 Temperature Name1                    (± 20%)3                         (mm)              (max)
                                                       +20%)3                                        Quantity
                       HZ102F             170 mF         90 mΩ        20.0 x 15.0        1.2 mm         TBA
                       HA102F             240 mF         60 mΩ                           1.2 mm        3,000
  2.75Vnominal                                                        20.0 x 18.0
                       HA130F             800 mF         65 mΩ                           1.7 mm        3,000
    2.9Vpeak
                       HW109F         300 mF             50 mΩ                           1.0 mm        3,000
                       HW101F         760 mF             50 mΩ        28.5 x 17.0        1.3 mm        3,000
                       HW103F         1000 mF            40 mΩ                           1.7 mm        3,000
-40°C to +70°C
  Tmax = 85°C5         HS103F         500 mF             30 mΩ                           1.0 mm        3,000
                       HS106F         1300 mF            30 mΩ                           1.3 mm        3,000
                                                                      39.0 x 17.0
                       HS108F         1800 mF            25 mΩ                           1.7 mm        3,000
                       HS130F         2400 mF            25 mΩ                           1.9 mm        3,000

Parameter                  Name             Condition        Minimum                Nominal         Maximum
Leakage Current    6
                              IL               23°C                                 1μA / cell      2μA / cell
RMS Current                  IRMS              23°C                                                 3A – 6.5A
Pulse Current7               Ipeak                                                                     30A
ESR change with                            Min @ +70°C           75% of                              250% of
Temperature                                Max @ -40°C           nominal                             nominal
Notes
1. Select products are available ex-stock (Standard products). The remainder are available to order.
2. Capacitance will decline and ESR will rise over time, at a rate which depends on temperature and voltage.
   Continuous operation at high temperature & voltage is not recommended. See Section 6 for more
   information on ageing and endurance.
3. DC capacitance and ESR tolerance are measured at 23°C. Max ESR = Nominal ESR +20%.
4. Thickness is measured between two parallel plates with 140gm force applied.
5. Max continuous operating temp = +70C but can withstand excursions to +85C
6. Leakage current is measured after charging to nominal voltage for 120hrs at 23°C.
7. Single pulse, non-repetitive current (positive & negative terminal short-circuited).
© 2022 CAP-XX (Australia) Pty Ltd; v6.5                                                                   Page 5
   Case 2:23-cv-00334-JRG Document 1-4 Filed 07/14/23 Page 8 of 28 PageID #: 81




                                                       Storage & Operation
6. Storage & Operation Metrics
                                                                    G        H
Parameter Condition                       Metric                                  Notes
                                                                  Series   Series
Operating      Maximum operating          Tmax                     70°C     85°C   Brief excursions to Tmax will not
temperature    temperature                (°C)                                     damage the device.
               Recommended                Tcont                   -40°C    -40°C
               operating temperature                                to       to    Continuous operation at Tmax is
                                          (°C)
                                                                                   not recommended.
               range                                              +70°C    +70°C
Shelf life     Recommended storage Tshelf                          23°C     23°C   CAP-XX recommends storing
               temperature & humidity (°C)                                         supercapacitors in their original
                                                                   45%      45%    packaging in an air conditioned
                                          RHshelf                                  room.
                                          (%)
               2 years @ Tshelf           C loss                   < 5%    < 10%
               (17,500 hrs @ 23°C)        (% of initial C)
                                          ESR rise                < 10%    < 20%
                                          (% of initial ESR)
               Maximum recommended Tshelfmax                       35°C     35°C   CAP-XX supercapacitors can be
               continuous storage     (°C)                                         stored at any temperature not
               temperature & humidity                              65%      65%    exceeding their maximum
                                          RHshelfmax                               operating temperature (Tmax), but
                                          (%)
                                                                                   storage at continuous high
               2 years @ Tshelfmax        C loss                  < 10%    < 20%   temperature and humidity is not
               (17,500 hrs @ 35°C)        (% of initial C)                         recommended, and will cause
                                          ESR rise                < 20%    < 40%   premature ageing.
                                          (% of initial ESR)
Cycle life     500,000 cycles @ 23°C      C loss                   < 1%     < 5%   Voltage cycling at low RMS
               (Vn → ½Vn, I = 0.5A)       (% of initial C)                         current will not affect life.
                                          ESR rise                 < 1%     < 5%   Cycling at high RMS current will
                                          (% of initial ESR)                       cause self-heating, which will
                                                                                   increase ageing rates.
Load life      @ Vn & 23°C                C loss rate              < 1%     < 3%   Note that C loss rates & ESR rise
               G series = 5.0V, 23°C      (% / 1000hr)                             rates are not calculated or
               H Series = 5.5V, 23°C      ESR rise rate            < 1%     < 3%   extrapolated from 1,000 hr data.
                                          (% of initial/1000hr)
                                                                                   They are measured during long
               @ 80% Vn & 80% Tcont       C loss rate              < 2%     < 6%   term life tests over periods at least
               G series = 4.0V, 50°C      (% / 1000hr)                             12 months.
               H Series = 4.5V, 50°C      ESR rise rate            < 4%     < 9%
                                          (% of initial/1000hr)                    ESR rise rate is linear.
               @ Vn & Tcont               C loss rate             < 10%    < 20%
               G series = 5.0V, 70°C      (% / 1000hr)                             C loss follows an exponential
               H Series = 5.5V, 70°C                                               decay.
                                          ESR rise rate           < 30%    < 30%
                                          (% of initial/1000hr)
MTTF           @ Vn & 23°C                MTTF                     > 10     > 10   MTTF is calculated with a
               G series = 5.0V, 23°C      (years)                                  regression equation (Arrhenius
               H Series = 5.5V, 23°C                                               form) from observed failures
               @ 80% Vn & 80% Tcont       MTTF                      ~2      ~2     during long term life testing.
               G series = 4.0V, 50°C      (years)
               H Series = 4.5V, 50°C                                               Note that such calculations are
                                                                                   inaccurate at low temperatures
               @ Vn & Tcont               MTTF                     <1       <1     due to low/no observed failures.
               G series = 5.0V, 70°C      (years)
               H Series = 5.5V, 70°C




© 2022 CAP-XX (Australia) Pty Ltd; v6.5                                                                        Page 6
    Case 2:23-cv-00334-JRG Document 1-4 Filed 07/14/23 Page 9 of 28 PageID #: 82



                                                               Energy / Power &
                                                                Product Names
7. Energy & Power Density
Parameter Description                   Metric           G Series        H Series     Notes
Energy           Full discharge from    Capacity          0.1 - 1.7       0.2 - 1.8   Capacity = (C x Vn) / 3.6
                 nominal voltage (Vn)   (mAh)
                 Gravimetric Energy     Egrav          1,554 – 6,857 1,927 – 8,372 Egrav = (½C x V2) / Weight
                 Density                (Joules/kg)
                                        Egrav             0.4 - 1.9       0.5 – 2.3   Egrav = (½C x V2) /
                                        (Wh/kg)                                       (3600 x Weight)
                 Volumetric Energy      Evol              0.5 - 1.6       0.6 – 1.9   Evol = (½C x V2) /
                 Density                (Wh/L)                                        (3600 x Volume)
Power            Gravimetric Power      Pgrav             83 - 121        60 – 85     Pgrav = Vn2 / (4xESR) / Weight
                 Density                (kW/kg)
                 Volumetric Power       Pvol              87 - 128        58 – 99     Pvol = Vn2 / (4xESR) /Volume
                 Density                (kW/L)


8. Product Names
CAP-XX products have a 6 character alpha-numeric product name in the form "GS230F". See the
table below for information provided in the product name.
Note that only the first 5 characters of the product name are printed on the device.
Position Code              Meaning              Description
1            G             Series code          “G” series are General purpose supercapacitors:
             H                                      • Operating temperature range: -40°C to +70°C
                                                    • Continuous load voltage: 2.5V / 5.0V

                                                “H” series are High temperature/High voltage supercapacitors:
                                                    • Operating temperature range: -40°C to +85°C
                                                    • Continuous load voltage: 2.75V / 5.5V
2            S             Package code         “S” products are 39 x 17mm, excluding the terminals.
             W                                  “W” products are 28.5 x 17mm, excluding the terminals.
             A                                  "A" products are 20 x 18mm, including the terminals.

                                                Refer to the Section 20 for detailed information on body sizes,
                                                terminal projections and PCB layout measurements.
3            1             Cell code            “1” denotes a single cell supercapacitor.
             2                                  “2” denotes a dual cell supercapacitor, comprising two single cells
                                                connected in series.
4, 5         Nn            Product code         An internal CAP-XX reference to denote the cell configuration.
6            F             Mounting code        “F” suffix (e.g. GS230F) indicates no adhesive tape on the
             G                                  underside of the device (standard configuration).

                                                “G” suffix (e.g. GS230G) indicates double-sided, insulating
                                                adhesive tape on the underside of the device. This option is
                                                available to order on all CAP-XX parts, and can assist with
                                                mounting, electrical isolation and extreme shock and vibration.




© 2022 CAP-XX (Australia) Pty Ltd; v6.5                                                                      Page 7
  Case 2:23-cv-00334-JRG Document 1-4 Filed 07/14/23 Page 10 of 28 PageID #: 83




                                                             Product Marking
9. Product Markings
All CAP-XX products are marked with the Product Name, Batch Code, Capacitance, continuous
operating Voltage, and the Positive terminal location. Some products also show the Device Number,
ESR and Country of Manufacture. Dual cell modules show the Balance (mid-point) terminal location.


“S” & “W” Dual Cells
        Front:                            Back (“F” part):     Back (“G” part, with mounting tape)
                                          (Standard)           (Special Order




“S” & “W” Single Cells
        Front:                            Back (“F” part):




“A” Dual Cells
         Front:                           Back (“F” part):




“A” Single Cells
         Front:                           Back (“F” part):




© 2022 CAP-XX (Australia) Pty Ltd; v6.5                                                     Page 8
  Case 2:23-cv-00334-JRG Document 1-4 Filed 07/14/23 Page 11 of 28 PageID #: 84



                                                          Batch Codes
                                                    Transport & Storage
10. Batch Codes
“S”, “W” & “A” series devices
S, W & A products have a 6 character alpha-numeric Batch Code of the form "N2CAJ2", where:
 ● Position 1 = Manufacturing site code
 ● Position 2 = Manufacturing line number
 ● Position 3 = Year of manufacture
 ● Position 4 = Month of manufacture
 ● Position 5 = Day of manufacture
 ● Position 6 = Batch number that day on the specified line
The characters at Positions 3 - 6 indicate a number according to the following sequence:
Character       1      2     3     4      5    6    7    8    9    A    B    C    D    E    F      G
Number          1      2     3     4      5    6    7    8    9    10   11   12   13   14   15     16
Character       H      I     J     K      L    M    N    O    P    Q    R    S    T    U    V
Number          17     18    19    20     21   22   23   24   25   26   27   28   29   30   31



11. Transportation & Storage
IATA Dangerous Goods Regulations
Supercapacitors with an energy storage capacity of < 0.3Wh are not subject to any transportation
restrictions (see IATA Dangerous Goods Regulations, 54th Edition, UN3499 in Class 9, Electrical
Double-Layer Capacitors, ELDC).
All CAP-XX supercapacitors have an energy storage capacity < 0.3Wh (1,080J), and are therefore
not subject to any transportation restrictions.
Storage Conditions
CAP-XX supercapacitors and assembled devices containing CAP-XX supercapacitors may be
stored at temperatures of up to 70°C, but for maximum life, CAP-XX recommends storage in the
original packaging, in an air conditioned room at ~23°C.
Avoid humid, acidic or alkaline storage environments and excessive external forces.




© 2022 CAP-XX (Australia) Pty Ltd; v6.5                                                          Page 9
  Case 2:23-cv-00334-JRG Document 1-4 Filed 07/14/23 Page 12 of 28 PageID #: 85




                                                                         Packaging
12. Packaging & Package Quantities
CAP-XX supercapacitors are shipped in stackable, anti-static trays.
Each tray holds 20 to 50 devices (depending on the body size), in cavities moulded into the tray.
The trays are designed to protect the devices during transportation, and to facilitate their removal by
hand or vacuum pen prior to assembly.


Packaging for Shipment
The Minimum Package Quantity (MPQ) is a stack of 10 product trays and a cover tray. This
package is then wrapped in plastic bubble wrap or sealed in a moisture resistant foil bag.
Each package contains 200 (“S” series devices), 300 (“W” series devices), or 500 pieces (“A” series
devices). This is the MPQ, and also the MOQ for wholesale purchase.

                                          Cover tray


                                          10 product trays

                                           Plastic bag



Packing Tray for “S” series devices
20 pieces / Tray
Package Quantity = 200pcs




© 2022 CAP-XX (Australia) Pty Ltd; v6.5                                                         Page 10
  Case 2:23-cv-00334-JRG Document 1-4 Filed 07/14/23 Page 13 of 28 PageID #: 86




                                                         Packaging

Packing Tray for “W” series devices
30 pieces / Tray
Package Quantity = 300pcs




Packing Tray for “A” series devices
50 pieces / Tray
Package Quantity = 500pcs




© 2022 CAP-XX (Australia) Pty Ltd; v6.5                                   Page 11
  Case 2:23-cv-00334-JRG Document 1-4 Filed 07/14/23 Page 14 of 28 PageID #: 87



                                                        Cautions &
                                                Notes on Assembly
13. Cautions Before Use
CAP-XX supercapacitors are “burned in” during production, and have a defined polarity, as shown
by the positive terminal marked on the face of the product. Reversing the polarity of the device will
not damage the device, but may cause a rise in the ESR and will void the warranty. Please verify
the orientation of the supercapacitor in accordance with the product markings before assembly.
CAP-XX supercapacitors are heat-sensitive. Over-heating of the supercapacitor may result in a
degradation of performance and useful life (see Section 17 for more information).
CAP-XX supercapacitors must only be used within their rated voltage range. Over-voltage may
cause swelling and eventually, product failure.
Dual cell supercapacitor modules contain two cells connected in series. Please ensure that the
voltage in both cells remains below the rated peak and constant operating voltages. CAP-XX
recommends the use of an active balancing circuit or passive balancing resistors to prevent an over-
voltage situation developing in one cell. Contact CAP-XX for more information on cell balancing.
CAP-XX supercapacitors are fully discharged when shipped. Devices should be handled and
soldered in a discharged state.
14. Soldering & Assembly
Placement
Avoid contact between conductive areas on the underside of the supercapacitor and vias, through
holes or tracks on the PCB. Refer to the Product Drawings in Section 20 for detailed information on
the location and size of these conductive areas, and the recommended positioning and size of PCB
landing pads.
Do not apply excessive force to the supercapacitor during placement. CAP-XX supercapacitors
should not be exposed to more than 400kPa pressure across the flat surface of the device
(equivalent to a weight of 10kg). Bending or applying too much pressure to the device may damage
the seals, resulting in device failure.
CAP-XX supercapacitor terminals are manufactured from tinned (pure bright tin), annealed (low
temper) copper that is pliable. Care should be taken to avoid bending the terminals.
To mount the supercapacitor on the PCB, remove the device from the tray by hand, with a vacuum
pen, or by an automated pick and place robotic arm with a vacuum pen, and locate onto the PCB.
CAP-XX offers an adhesive insulating tape on the underside of the device as an option to assist in
mounting. The PCB surface should be clean and free from oil, grease or flux residue prior to
mounting. Remove the release tape, position the device carefully and press firmly into place. An
extended hold time is not required.
Soldering
CAP-XX supercapacitors are designed for direct soldering onto the PCB. Soldering the terminals to
the PCB will ensure the highest contact reliability and lowest contact resistance. Do NOT solder
directly to the device casing. This will cause permanent internal damage to the supercapacitor.
CAP-XX supercapacitors are NOT SUITABLE for infrared reflow soldering, hot-air reflow soldering,
or wave soldering. They should be mounted as a secondary operation, using a manual soldering
iron, a hot bar soldering jig, conductive adhesive, ultrasonic welding or laser welding.
CAP-XX recommends the use of a water-soluble flux, or a no-clean (low residue) flux, and low
temperature solder compounds.



© 2022 CAP-XX (Australia) Pty Ltd; v6.5                                                         Page 12
  Case 2:23-cv-00334-JRG Document 1-4 Filed 07/14/23 Page 15 of 28 PageID #: 88



                                                                                                  Cautions &
                                                                                          Notes on Assembly
Soldering should be undertaken with a low wattage soldering iron (<70 W), applying heat just long
enough to achieve a good connection. The maximum recommended soldering time is 5 seconds,
when using an iron at 400°C in an ambient temperature of 23°C.
                                                                        Capacitor Internal Temperature when Soldering

                                                       55
                 Capacitor Internal Temperature (°C)




                                                       50

                                                                                          Iron at 400°C
                                                       45

                                                                                                                            Iron at 300°C
                                                       40


                                                       35


                                                       30


                                                       25


                                                       20
                                                            0   1   2      3          4          5          6           7        8          9   10

                                                                                            Time (s)


If a hot-air gun is used to reflow the solder during a re-mount or de-mount, care must be taken to
prevent excessive heating of the package adjacent to the solder terminals. Allow at least 15 sec
between successive soldering attempts for the device to cool down.
Washing
CAP-XX supercapacitors are NOT SUITABLE for solvent-based washing. Do not use any solvent
cleaners such as acetone, benzene, isopropyl alcohol or halogenated solvents.
CAP-XX recommends that the assembly be washed with an aqueous cleaning solution based on
de-ionized water.to remove any flux residue. Do not wash at temperatures exceeding 70°C, or at
spray pressures exceeding 50psi. The supercapacitor may be fully submerged briefly during the
washing process, but exposure times to water should be minimized.
Drying
Rapid airflow around the device during drying will assist in the removal of any residual moisture
trapped in the package. Keep drying times to the minimum necessary, at temperatures not
exceeding 70°C.
Conformal Coatings & Potting
Some applications require the use of conformal coatings or “potting” compounds in order to meet
specific performance requirements, such as enhanced shock and vibration resistance,
waterproofing, protection from corrosive environments, and ATEX / Intrinsic Safety certifications.
Potting may involve the use of thermo-setting plastics, silicone rubber gels, or polyurethane, whilst
conformal coatings generally involve acrylics, epoxies, polyurethane, silicones, Parylene, or
amorphous fluoro polymers. In all cases, care must be taken to ensure that the device is not
subjected to temperatures outside the specified range during setting and curing, and that solvents
used in the process will not damage the external packaging of the supercapacitor. Contact CAP-XX
for more information if required.




© 2022 CAP-XX (Australia) Pty Ltd; v6.5                                                                                                              Page 13
  Case 2:23-cv-00334-JRG Document 1-4 Filed 07/14/23 Page 16 of 28 PageID #: 89



                                                                        Safety &
                                                                     Compliances
15. Safety
CAP-XX supercapacitors are very safe and reliable.
Failure modes
The failure mode for a supercapacitor is usually open circuit, with ESR rising to infinity.
This can occur if the device is exposed to high temperature or voltage or as a result of electrolyte
loss over time. These situations can occur as a result of assembly errors (e.g. over-heating the
device during soldering), circuit design errors (e.g. failure to balance the cell voltages in a dual cell
device correctly), environmental extremes (e.g. temperature excursions beyond the specified range
or duration), or natural ageing (e.g. permeation of the electrolyte solvent through the package seal).
Occasionally, supercapacitors will fail as a short circuit. This can be due to physical damage
sustained during handling or assembly (e.g. if the package is pierced by a sharp, conductive object),
assembly errors (e.g. by shorting a terminal to the package during soldering), circuit design errors
(e.g. by running vias on the PCB under conductive areas on the package), industrial design errors
(e.g. by exerting excessive pressure on the device, damaging the internal separator membrane), or
by manufacturing errors (e.g. by misalignment of the separator between electrodes).
Resistance to Shock
CAP-XX has undertaken tests in accordance with IEC68-2-27 to determine the effects of repeated
shocks on both the mechanical integrity and electrical performance of its supercapacitors:
 ● Pulse Shape             Half-Sine
 ● Amplitude               30g ±20%
 ● Duration                18ms ±5%
 ● No. of Shocks           3 in each direction (18 in total)
 ● No. of Axes             3, orthogonal
Results: final C ≥ 80% of initial, final ESR ≤ 120% of initial, final thickness within specification
Note: To achieve the highest levels of resistance to shock, CAP-XX recommends the use of an
adhesive mounting tape on the underside of the device. Order the “G” option, e.g. GW201G for this
tape which adds 0.1mm to the device thickness – see section 20, Product Drawings.
Resistance to Vibration
CAP-XX has undertaken tests in accordance with IEC60065-2-6 to determine the effects of
sustained vibration on both the mechanical integrity and electrical performance of its
supercapacitors:
 ● Type                    Sinusoidal
 ● Frequency               10Hz - 500Hz
 ● Amplitude               0.75 mm or acceleration: 100 m/s2 (whichever is less stringent)
 ● Sweep Rate              1 Octave/min
 ● No. of Cycles           10 (10Hz - 500Hz - 10Hz)
 ● No. of Axes             3, orthogonal
Results: final C ≥ 80% of initial, final ESR ≤ 120% of initial, final thickness within specification
Note: To achieve the highest levels of resistance to vibration, CAP-XX recommends the use an
adhesive mounting tape on the underside of the device, “G” option.
Drop-Test
CAP-XX has undertaken tests to determine the effects of repeated drops on both the mechanical
integrity and electrical performance of its supercapacitors:
  ● Mounting                 Mount the supercapacitor in a test jig as set out below
© 2022 CAP-XX (Australia) Pty Ltd; v6.5                                                                Page 14
  Case 2:23-cv-00334-JRG Document 1-4 Filed 07/14/23 Page 17 of 28 PageID #: 90



                                                                      Safety &
                                                                   Compliances
 ● Method                  Drop the test jig onto a concrete floor from a height of 2m
 ● No. of Cycles           3 drops, one on each axis
Results: No electrical or mechanical degradation observed when following the mounting rules.
Mounting during drop test:
 ● Constrained by the device housing, with a maximum clearance of 1mm – The supercapacitor
     was connected to the PCB only by the solder connections on the terminals.
 ● Unconstrained by the device housing - The supercapacitor was connected to the PCB with
     double-sided adhesive tape and by solder connections on all terminals.
For maximum product performance in harsh environments, CAP-XX recommends the use of an
adhesive mounting tape on the underside of the device, “G” option, or a conformal coating/potting
compound.


Exposure to an Open Flame
A fully charged supercapacitor was burned
with an alcohol lamp.
Results: The supercapacitor expands due to the heat,
and the seal weakens, but does not burst. There is
no ignition, no fire, and no scattering of pieces and/or sparks.


Exposure to Heat
A fully charged supercapacitor was placed in an
in oven for 1hr at 130°C.
Results: The supercapacitor expands due to the heat,
and the seal weakens, but does not burst. There is no
smoke, no fire, and no gas emission.


Pressure
A fully charged supercapacitor was pressed with a
10mm diameter pole, to 2/3 of its initial thickness.
Results: The supercapacitor loses its charge. There is
no ignition, no smoke, no fire, no gas emission, and
no scattering of pieces and/or sparks.


Puncture
A fully charged supercapacitor was punctured with a
2mm diameter steel needle.
Results: The supercapacitor loses its charge. There is
no ignition, no smoke, no fire, no gas emission, and
no scattering of pieces and/or sparks.




© 2022 CAP-XX (Australia) Pty Ltd; v6.5                                                    Page 15
  Case 2:23-cv-00334-JRG Document 1-4 Filed 07/14/23 Page 18 of 28 PageID #: 91



                                                                      Safety &
                                                                   Compliances
16. Dimensional Stability & Low Pressure Environments
CAP-XX supercapacitors are hermetically sealed, and contain a very small amount of a liquid
electrolyte. At high altitudes (with low external pressure), the device may swell and ESR may
increase. Please contact CAP-XX for more information on use in low pressure environments.
The aluminium soft pack will swell at high temperature, and may exert force on adjacent
components. If unconstrained, a device may swell by up to 50% of its nominal thickness at 70°C.
If constrained by the product case or adjacent components, the supercapacitor may exert up to 7N
of force on its surroundings at 70°C. As an example, with a contact surface area of 1.7cm2, a dual
cell W device will exert a pressure of ~42kPa (6psi) on a fixed surface at 70°C.
17. Response to Over-Temperature Events
CAP-XX supercapacitors are heat-sensitive. Over-heating of the supercapacitor may result in a
degradation of performance and useful life. Note that the thermal mass of CAP-XX supercapacitors
is very small, so the temperature of the device will equalize to its environment very quickly.
G series devices are rated to a maximum temperature of 70°C, whilst the H series is rated to 85°C.
CAP-XX does not recommend operating supercapacitors at or near their maximum temperature
rating constantly, as they will age rapidly (i.e. ESR will rise and capacitance will fall).
Exceeding the rated maximum temperature will cause even more accelerated ageing and may
cause immediate failure depending on the temperature reached and the time exposed.
At temperatures between 85°C and 100°C, there will be a progressive change in the dimensions of
the package (puffing). Usually, this is reversible, and electrical performance is retained. As the
temperature approaches 100°C, the probability of non-reversible change increases. This will
occasionally cause immediate failure, and degraded electrical performance due to physical damage
to the internal structure of the device.
At temperatures greater than 100°C, electrical performance will degrade rapidly, and permanent
electrical failure becomes increasingly likely. At 150°C or higher, the seals will melt and the device
will fail both physically and electrically.
18. Certifications & Compliances
ISO 9001:2015
CAP-XX is certified as following the ISO 9001 Quality Management System. The current certification
can be found by typing “CAP-XX” in the Company field of our certifying organisation, BSI’s client
directory page https://www.bsigroup.com/en-AU/Our-services/Certification/client-directory/ .
Underwriter’s Laboratory (UL 810A)
CAP-XX H series prismatic products have been tested by Underwriter's Laboratory and are certified
as UL-Recognized Components. The CAP-XX certified products can be found by typing “CAP-XX”
in the Company Name field on the page database.ul.com and then clicking on the link
BBBG2.MH47599.
RoHS
All CAP-XX products are RoHS2 compliant. Substances specified in the European Union directive
2011/65/EU and Chinese Government directive (to standard SJ/T 11363 – 2006) are either not
present at all, or are present at levels below those specified in the directive.
An RoHS Certificate of Compliance is available on the CAP-XX website.
Real time RoHS reports on CAP-XX parts can be obtained on BOMcheck.



© 2022 CAP-XX (Australia) Pty Ltd; v6.5                                                          Page 16
  Case 2:23-cv-00334-JRG Document 1-4 Filed 07/14/23 Page 19 of 28 PageID #: 92



                                                                     Safety &
                                                                  Compliances
REACH
All CAP-XX products are REACH compliant.
Pre-registration and registration of substances in articles: CAP-XX does not supply any products
that would be considered an article with a substance intended to be released during normal and
reasonably foreseeable conditions of use, and therefore has no plans for pre-registration.
Substances of Very High Concern (SVHC): CAP-XX products do not contain any chemicals listed as
SVHC in Annex XIV or the Candidate List under Article 57 of European Directive EC 1907/2006 and
as amended by subsequent regulations.
Restricted use substances: CAP-XX products either do not contain any of the restricted-use
substances given in Annex XVII of European Directive EC 1907/2006 and as amended by
subsequent regulations or meet any of the restrictions placed on them.
A REACH Certificate of Compliance is available on the CAP-XX website.
Real time REACH reports on CAP-XX parts can be obtained on BOMcheck.
Rare Earth Metals & Conflict Metals
CAP-XX products do not contain any rare earth metals or conflict metals as defined in Section 1502
of the United States Financial Reform Bill (HR 4173), 2010. Specifically, CAP-XX supercapacitors
do not contain any Tantalum (Ta), Tungsten (W) or Gold (Au). CAP-XX products contain Tin (Sn)
sourced only from non-conflict sources.
A Certificate of Compliance is available on the CAP-XX website.
The Conflict Materials report can be obtained on BOMcheck.
Halogens
CAP-XX products are halogen-free as defined under the draft IPC/JEDEC J-STD-709 standard for
electronic components and assemblies. Specifically, CAP-XX products do not contain any
brominated or chlorinated flame retardants (BFRs/CFRs) or PVC plastics.
A Certificate of Compliance is available on the CAP-XX website.
19. Notes & Disclaimers
Product specifications in this document are current as of its publication date. Specifications are
subject to change, and products may be discontinued without advance notice.
This document contains limited specification detail. Please refer to the relevant Data Sheet for more
complete specification data on specific products, or contact CAP-XX for more information.
CAP-XX products are not authorized for use in medical devices classified as Class III under the
European Union Directive 93/42/EC, 2010, or Class D of the Global Harmonization Task Force
Guidelines, 2012. Please contact CAP-XX for more information on the use of our products in any
applications which may be considered to carry any risk of harm to people or property.
CAP-XX and trade names associated with CAP-XX are protected by Trademark.
Technology referred to in this document is protected by US patent 06631072 and other patents and
pending patents.




© 2022 CAP-XX (Australia) Pty Ltd; v6.5                                                         Page 17
  Case 2:23-cv-00334-JRG Document 1-4 Filed 07/14/23 Page 20 of 28 PageID #: 93



                                                       Product Drawings:
                                                        Dual Cell Devices
20. Product Drawings: Mechanical & Electrical


                                          “S” Package Dual Cell Devices




© 2022 CAP-XX (Australia) Pty Ltd; v6.5                                   Page 18
  Case 2:23-cv-00334-JRG Document 1-4 Filed 07/14/23 Page 21 of 28 PageID #: 94



                                                       Product Drawings:
                                                        Dual Cell Devices
                                          “W” Package Dual Cell Devices




© 2022 CAP-XX (Australia) Pty Ltd; v6.5                                   Page 19
  Case 2:23-cv-00334-JRG Document 1-4 Filed 07/14/23 Page 22 of 28 PageID #: 95



                                                       Product Drawings:
                                                        Dual Cell Devices
                                          “A” Package Dual Cell Devices




© 2022 CAP-XX (Australia) Pty Ltd; v6.5                                   Page 20
  Case 2:23-cv-00334-JRG Document 1-4 Filed 07/14/23 Page 23 of 28 PageID #: 96



                                                      Product Drawings:
                                                      Single Cell Devices
                                          “Z” Package Dual Cell Devices




© 2022 CAP-XX (Australia) Pty Ltd; v6.5                                   Page 21
  Case 2:23-cv-00334-JRG Document 1-4 Filed 07/14/23 Page 24 of 28 PageID #: 97



                                                  Product Drawings:
                                                  Single Cell Devices
                                 “S” Package Single Cell Supercapacitors




© 2022 CAP-XX (Australia) Pty Ltd; v6.5                                    Page 22
  Case 2:23-cv-00334-JRG Document 1-4 Filed 07/14/23 Page 25 of 28 PageID #: 98



                                                 Product Drawings:
                                                 Single Cell Devices
                                “W” Package Single Cell Supercapacitors




© 2022 CAP-XX (Australia) Pty Ltd; v6.5                                   Page 23
  Case 2:23-cv-00334-JRG Document 1-4 Filed 07/14/23 Page 26 of 28 PageID #: 99



                                                 Product Drawings:
                                                 Single Cell Devices
                                “A” Package Single Cell Supercapacitors




© 2022 CAP-XX (Australia) Pty Ltd; v6.5                                   Page 24
 Case 2:23-cv-00334-JRG Document 1-4 Filed 07/14/23 Page 27 of 28 PageID #: 100



                                                  Product Drawings:
                                                  Single Cell Devices
                                 “Z” Package Single Cell Supercapacitors




© 2022 CAP-XX (Australia) Pty Ltd; v6.5                                    Page 25
 Case 2:23-cv-00334-JRG Document 1-4 Filed 07/14/23 Page 28 of 28 PageID #: 101




                                                  Contact Information
21. Contact Information


Principal Office
CAP-XX (Australia) Pty Ltd
Unit 9, 12 Mars Road
Lane Cove, NSW 2066
Australia


Sales & Product Enquiries
Website:                                                  www.cap-xx.com
Email:                                                    sales@cap-xx.com
Telephone:                                                +61 2 9420 0690


Distributors

AMERICAS
USA & Canada                  Tecate Industries           www.tecategroup.com

ASIA
ASEAN & South Asia            McCoy Components            www.mccoycomponents.com
China                         King Horn Enterprises       www.kinghornhk.com/en/
                              Xiamen Holder Electronics   www.xmholder.com
Japan                         Synerdyne                   www.syr.co.jp
Korea                         Changnam I.N.T              www.changnam.com
Taiwan                        PAC Electronics             www.pactw.com.tw

EUROPE
Denmark                       ACTE Denmark                www.acte.dk
Finland                       ACTE Finland                www.acte.fi
France & Benelux              CATS                        www.cats-france.fr
Germany & Switzerland         Unitronic                   www.unitronic.de
Norway                        ACTE Norway                 www.acte.no
Poland & Russia               ACTE Poland                 www.acte.pl
Spain & Portugal              ELCO Componentes            www.elcocomponentes.com
Sweden                        ACTE Sweden                 www.acte.se
UK, Ireland & Spain           A-TEC International         www.a-tecuk.com
UK & Ireland                  E-Tech Components UK Ltd    www.etechcomponents.com


MIDDLE EAST & AFRICA
Israel                        B. Roman (2001)             www.broman.co.il
South Africa                  Seven Labs Technology       www.sevenlabs.co.za




© 2022 CAP-XX (Australia) Pty Ltd; v6.5                                             Page 26
